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                              UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF NORTH CAROLINA
                                      DURHAM DIVISION

                                                    )
IN RE:                                              )
TONYA GAIL MCCRAE                                   )           CASE NO. 13-80568
                DEBTOR                              )           CHAPTER 13
                                                    )

        NOTICE OF APPEARANCE PURSUANT TO BANKRUPTCY RULE 9010 (b) AND
               REQUEST FOR NOTICES UNDER BANKRUPTCY RULE 2002

To the Clerk of the United States Bankruptcy Court:

         PLEASE TAKE NOTICE and pursuant to Bankruptcy Rule 9010 (b) enter the appearance of:

                                         Matthew L. Underwood
                                            Attorney at Law
                                          Brock & Scott, PLLC
                                   5121 Parkway Plaza Blvd., Suite 300
                                          Charlotte, NC 28217
                                     Bankruptcy@brockandscott.com

as counsel for Bank of America, N.A., a creditor of the above named Debtor(s).

         REQUEST is further made by counsel that all Notices required to be given to parties in interest
pursuant to Bankruptcy Rule 2002 be mailed to counsel.


                                                        /s/ Matthew L. Underwood
                                                        Matthew L. Underwood
                                                        State Bar Number 37106

                                     CERTIFICATE OF SERVICE

          The undersigned certifies that on the date set forth below, this Notice of Appearance was served
by first class U.S. mail, postage prepaid, or by electronic mail, if applicable, to the following:

                                              John T. Orcutt
                                          6616-203 Six Forks Rd.
                                            Raleigh, NC 27615

                                         Richard M. Hutson, II
                                        Durham Chapter 13 Office
                                    302 East Pettigrew St., Suite B-140
                                             P. O. Box 3613
                                           Durham, NC 27702

This 16th day of May, 2013
                                                        /s/ Matthew L. Underwood
                                                        Matthew L. Underwood
                                                        State Bar Number 37106
